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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

 ARM LTD.,                                        )
                                                  )
                        Plaintiff,                )
                                                  )
           v.                                     )   C.A. No. 22-1146 (MN)
                                                  )
 QUALCOMM INC., QUALCOMM                          )
 TECHNOLOGIES, INC. and NUVIA, INC.,              )
                                                  )
                        Defendants.               )

                         NOTICE OF WITHDRAWAL OF COUNSEL

           PLEASE TAKE NOTICE that the appearance of Brian Shiue, formerly of PAUL, WEISS,

 RIFKIND, WHARTON & GARRISON LLP, as counsel for Defendants Qualcomm Inc., Qualcomm

 Technologies, Inc., and Nuvia, Inc. (collectively, “Defendants”) is hereby withdrawn. The firms

 of MORRIS, NICHOLS, ARSHT & TUNNELL LLP, PAUL, WEISS, RIFKIND, WHARTON & GARRISON

 LLP, and NORTON ROSE FULBRIGHT US LLP will continue to represent Defendants in this

 matter.
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 July 12, 2024




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                                CERTIFICATE OF SERVICE

        I hereby certify that on July 12, 2024, I caused the foregoing to be electronically filed

 with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

 registered participants.

        I further certify that I caused copies of the foregoing document to be served on

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